Case 19-11261-jal Docé6 Filed 12/10/19 Entered 12/10/19 09:19:19 Pagelof1

 

 

 

 

Certificate Number: 16199-K YW-CC-033810975

UAE

-KYW-CC-033810975

CERTIFICATE OF COUNSELING

I CERTIFY that on December 10, 2019, at 12:31 o'clock AM EST, Gene Kepas
Edgar received from CC Advising, Inc. , an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the Western District of Kentucky, an
individual [or group] briefing that complied with the provisions of 11 U.S.C.

109(h) and 111.

 

 

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: December 10, 2019 By: /s/Haley Lamb for Mary Dillon

 

 

Name: Mary Dillon

 

Title: Credit Counselor

 

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 

 

 

 
